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Recipients submitted to the BNC (Bankruptcy Noticing Center):
db          RICHARD J. STAUFFER              4025 N. 82ND PL.           SCOTTSDALE, AZ 85251
jdb         SABRINA L. STAUFFER              4025 N. 82ND PL.           SCOTTSDALE, AZ 85251
tr          CONSTANTINO FLORES                PO BOX 511           PHOENIX, AZ 85001−0511
aty         BRIAN M. BLUM            Rosenstein Law Group, PLLC             8010 E. McDowell Rd., Ste 111       Scottsdale, AZ
            85257
smg         AZ DEPARTMENT OF REVENUE                   BANKRUPTCY &LITIGATION                   1600 W. MONROE, 7TH
            FL.       PHOENIX, AZ 85007−2650
10991263 American Express            Attn: Bankruptcy Dept         PO BOX 7863           Fort Lauderdale FL 33329−7863
10991264 Angel Harrison           14802 N. 46th Pl.        Phoenix AZ 85032
10991266 Associated Collection Service           4231 N. 11th St.        Phoenix AZ 85014
10991265 Associated Collection Service           P.O. Box 16053         Phoenix AZ 85011−6053
10991267 Barclays Bank           Attn: Bankruptcy Department          PO Box 8801          Wilmington DE 19899−8801
10991268 Barclays Bank / Juniper Card           Attn: Bankruptcy Department          PO Box 8801         Wilmington DE
            19899−8801
10991269 Boivin, Uerlings &DiIaconi, PC            803 Main St., Suite 201        Klamath Falls OR 97601−6070
10991270 Bradford White Corp            725 Talamore Dr         Ambler PA 19002
10991271 Budge McHugh Supply Co.              125 W. 4th St.        Medford OR 97501
10991273 CAPITAL ONE               Attn: Bankruptcy Department          PO Box 30285          Salt Lake City UT
            84130−0285
10991276 CHASE BANK USA NA                  Attn: Bankruptcy Dept          PO BOX 15145           Wilmington DE
            19850−5145
10991272 Capital Management Services             726 Exchange St. Ste. 700         Buffalo NY 14210
10991274 Century Link           PO Box 29040          Phoenix AZ 85038−9040
10991275 Century Link           PO Box 91155          Seattle WA 98111−9255
10991277 Clin Path Pathology           PO Box 42210          Phoenix AZ 85080−2210
10991278 David &Christina Kohout            10580 Buesing Rd           Klamath Falls OR 97603
10991279 Dex One           Attn: Bankruptcy Department          PO Box 3900          Peoria IL 61612
10991280 Discover Card           Attn: Bankruptcy Dept.        PO BOX 30943            Salt Lake City UT 84130−0395
10991281 Ferguson Enterprises           1130 Helicopter Way          Central Point OR 97502
10991282 GMAC Mortgage LLC                Attention: Bankruptcy Dept.         1100 Virginia Drive       Fort Washington PA
            19034
10991284 HSBC            Attn: Bankruptcy Department          PO Box 2013          Buffalo NY 14240
10991283 Home Depot Credit Services            PO Box 790328           Saint Louis MO 63179
10991285 James and Jeri Icenbice          4426 Denver Ave          Klamath Falls OR 97603−7441
10991286 Keith Devenport           308 Arrowhead Trail         Eagle Point OR 97524
10991287 LSIC, LLC            14362 N Frank Lloyd Wright Blvd Ste 1000            Scottsdale AZ 85260
10991289 MedDirect           3200 Broadmoor, SE          Grand Rapids MI 49512
10991288 MedDirect           Attn: Bankruptcy Department          PO Box 120153           Grand Rapids MI 49528−0153
10991290 Molatore, Scroggin, Peterson &Co. LLP             824 Pine Street        Klamath Falls OR 97601
10991291 Mountain Vista Medical Center            PO Box 406008           Atlanta GA 30384
10991293 NCO FINANCIAL SYSTEMS                    20401 N. 29th Ave., Suite 110         Phoenix AZ 85027
10991292 Nancy Anderson            920 Applewood St.          Klamath Falls OR 97603
10991294 Scottsdale Healthcare          P.O. Box 1022         Wixom MI 48393−1022
10991295 Southern Oregon FCU             1551 Harbeck Rd.         PO Box 1358          Grants Pass OR 97528−0323
10991296 Southern Oregon FCU             PO Box 1358          Grants Pass OR 97528
10991297 The Anderson Group             3001 19th St.        Metairie LA 70002−4906
10991298 Tires Les Schwab           5757 S. 6th St.       Klamath Falls OR 97603
10991299 United Recovery Systems            5800 North Course Drive           Houston TX 77072
10991300 Yellow Book            PO Box 3162          Cedar Rapids IA 52406
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